         FIFTH DISTRICT COURT OF APPEAL
                STATE OF FLORIDA
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                     Case No. 5D2023-2746
                              5D2024-0270
                  LT Case No. 2020-DR-000080
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TIMOTHY FORTUNE,

    Appellant,

    v.

ASHLEIGH FORTUNE,

    Appellee.
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On appeal from the Circuit Court for Seminole County.
Susan Stacy, Judge.

Andrea Black, of Andrea Black, P.A., Orlando, for Appellant.

Ashleigh Fortune, Chuluota, pro se.

                        August 20, 2024


PER CURIAM.

    AFFIRMED.

HARRIS, BOATWRIGHT, and MACIVER, JJ., concur.
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Not final until disposition of any timely and
authorized motion under Fla. R. App. P. 9.330 or
9.331.
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